Case 2:04-cr-20462-SH|\/| Document 60 Filed 07/28/05 Page 1 of 2 Page|D 96

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FoR THE wEsTERN DISTRICT oF TENNESSEE

 

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H-ROM:`RS M. 00003
UNITED sTATES oF AMERICA, ) 'U.S.D¥STR!C¥M
) w OFIN,MEMPWS
Plaintiff, )
)
vs. ) CR. NO. 04~20462-02-Ma
)
MARTIN RHEA, )
)
Defendant. )

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on July 27, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Martin Rhea, appearing in person and with appointed
counsel, Mr. Eugene Laurenzi.

With leave of the Court, the defendant entered a plea of
guilty to Count 1 of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, October 28, 2005
at 11:00 a.m.

The defendant is remanded to the custody of the United States
Marshal.

ENTERED this the Lq J¢\ day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

This dochent entered on the docket sheet 111 gnp\£lge
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Honorable Samuel Mays
US DISTRICT COURT

